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1    Mike Arias (CSB #115385)
      mike@asstlawyers.com
2    Alfredo Torrijos (CSB #222458)
      alfredo@asstlawyers.com
3    ARIAS SANGUINETTI WANG & TORRIJOS, LLP
     6701 Center Drive West, 14th Floor
4    Los Angeles, California 90045
     Telephone: (310) 844-9696
5    Facsimile: (310) 861-0168
6    Steven L. Woodrow*
       swoodrow@woodrowpeluso.com
7    Patrick H. Peluso*
       ppeluso@woodrowpeluso.com
8    Taylor T. Smith*
       tsmith@woodrowpeluso.com
9    WOODROW & PELUSO, LLC
     3900 East Mexico Avenue, Suite 300
10   Denver, Colorado 80210
     Telephone: (720) 213-0675
11   Facsimile: (303) 927-0809
12   *Pro Hac Vice admission to be filed
13   Attorneys for Plaintiff Edwardo Munoz
     and the Classes
14
                           UNITED STATES DISTRICT COURT
15
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
16
     EDWARDO MUNOZ, individually
17   and on behalf of all others similarly         Case No.
     situated,
18
                                Plaintiff,
19                                                 CLASS ACTION COMPLAINT
            v.
20
     7-ELEVEN, INC., a Texas
21   corporation,                                  JURY TRIAL DEMANDED
22                              Defendant.
23
24
           Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) brings this class action
25
     complaint against Defendant 7-Eleven, Inc. (“Defendant” or “7-Eleven”) to obtain
26
     redress for, and put an end to, Defendant’s serial violations of the Fair Credit
27
     Reporting Act, 15 U.S.C. § 1681, et seq. (“FCRA” or “Act”), specifically its failure
28
     to provide lawful notices and disclosures to its job applicants and employees as well
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1    as its failure to provide applicants and employees with notice and an opportunity to
2    respond prior to undertaking adverse action against them. Plaintiff, for his Class
3    Action Complaint, alleges as follows upon personal knowledge as to himself and his
4    own acts and experiences, and, as to all other matters, upon information and belief,
5    including investigation conducted by his attorneys.
6                                 NATURE OF THE ACTION
7          1.     Enacted to promote the accuracy, fairness, and privacy of consumer
8    information contained in the files of consumer reporting agencies, the FCRA
9    explicitly protects job applicants and existing employees from adverse employment
10   action taken as a result of potentially inaccurate or immaterial information. To that
11   end, employers who obtain and use consumer reports regarding their applicants and
12   employees are required to provide: (1) clear and conspicuous disclosures, in a
13   document consisting solely of the disclosure (i.e., that stands alone), prior to
14   obtaining consumer reports in the first place, and (2) copies of the reports they
15   obtain, together with a written summary of rights under the Act, prior to taking any
16   adverse employment action against the applicants/employees based on information
17   contained in such reports.
18         2.     Defendant willfully violates the FCRA by: (1) failing to provide a clear
19   and conspicuous or standalone upfront disclosure that Defendant may procure
20   consumer reports about its applicants and employees, and (2) failing to provide its
21   applicants and employees with copies of such reports and the required summaries of
22   their FCRA rights before taking adverse action against them.
23         3.     Consumer reports and investigative consumer reports, while both being
24   types of consumer reports, are not one in the same. They are subject to distinct
25   disclosure requirements. When an employer procures a standard "consumer report"
26   regarding an applicant, it must provide a clear and conspicuous disclosure that stands
27   alone pursuant to Section 1681b(b)(2); however, when an employer procures an
28   investigative consumer report (an invasive type of consumer report that features
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1    interviews with a multitude of potential sources) regarding an applicant it must
2    comply with the disclosure requirements of both Section 1681b(b)(2) and Section
3    1681d(a)-(b). (See, e.g., Advisory Opinion to Beaudette, available at
4    https://www.ftc.gov/policy/advisory-opinions/advisory-opinion-beaudette-06-09-98.)
5          4.     To comply with both provisions, the FTC has made clear that an
6    employer cannot include the required Section 1681d(b) disclosures with the Section
7    1681b(b)(2)(A) disclosure because doing so overshadows the latter disclosure and,
8    thus, violates Section 1681b(b)(2)(A)’s requirement that the disclosure be clear and
9    conspicuous and “in a document that consists solely of the disclosure.” (See, e.g.,
10   FTC Advisory Opinion to Willner, available at https://www.ftc.gov/policy/advisory-
11   opinions/advisory-opinion-willner-03-25-99.)
12         5.     In 7-Eleven’s case, Defendant fails to provide its applicants or
13   employees with a standalone disclosure and authorization that clearly and
14   conspicuously indicates in a document consisting solely of the disclosure that
15   Defendant may obtain a consumer report about them for employment purposes. First,
16   Defendant provides a single disclosure combining both the disclosure required for a
17   standard consumer report as well as disclosures required for an investigative
18   consumer report, including details regarding the nature and scope of any
19   investigation such that the disclosure overwhelms the consumer report disclosure.
20   The disclosure and authorization also contain additional extraneous information
21   about Sterling Talent Solutions and summaries of FCRA rights, as well as additional
22   language purporting to authorize the preparation of reports by Sterling Talent
23   Solutions. The authorization also purports to give consent to any party or agency
24   contacted by 7-Eleven, Inc. to furnish information to it, and contains
25   acknowledgements that the consumer has read and understood the disclosure and
26   that they may have any employment offer revoked if "unacceptable information is
27   found in an investigative background inquiry or consumer report. (See Disclosure &
28
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1    Authorization, a true and accurate copy of which is attached hereto as Ex. A.) The
2    disclosure cannot be considered standalone.
3          6.     The inclusion of such extraneous information and the overshadowing of
4    the consumer report disclosure rendered the disclosure confusing to Plaintiff and
5    other class members. By including combined disclosures, it is unclear as to whether
6    7-Eleven intends to procure a standard consumer report, an investigative consumer
7    report, or both. This lack of clarity frustrates the purpose of the FCRA, which is to
8    inform consumers and allow them a meaningful opportunity to authorize such
9    disclosures. Indeed, had a lawful disclosure been provided Plaintiff and others would
10   not have signed it.
11         7.     Defendant has also willfully violated the FCRA by taking adverse
12   action—including firing its employees—against its job applicants and employees
13   based in whole or in part upon consumer reports or investigative consumer reports
14   that it procured about them without providing such applicants/employees with “pre-
15   adverse action” notice prior to taking action. Instead, Defendant takes adverse action
16   against applicants and employees without providing a copy of the consumer report
17   procured about them or a description of their rights as required by Section
18   1681b(b)(3)(A). As such, Defendant serially violates the FCRA.
19         8.     As a result of Defendant’s willful violations of the FCRA, employees
20   and applicants such as Plaintiff Munoz are deprived of rights, including privacy
21   rights guaranteed to them by federal law, and are thus entitled to statutory damages
22   of at least $100 and not more than $1,000 for each violation. See 15 U.S.C. §
23   1681n(a)(1)(A).
24                                         PARTIES
25         9.     Plaintiff Munoz is a natural person and citizen of the State of California.
26   He resides in Merced, Merced County, California.
27         10.    Defendant 7-Eleven is a Texas corporation with its principal place of
28   business located at 3200 Hackberry Rd. Irving, TX 75063-0131.
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1                              JURISDICTION AND VENUE
2          11.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331
3    because this action arises under the Fair Credit Reporting Act, 15 U.S.C. § 1681, et
4    seq., which is a federal statute. Furthermore, jurisdiction is proper under the Class
5    Action Fairness Act, 28 U.S.C. § 1332(d), et seq. (“CAFA”), because the classes
6    each consist of over 100 people, at least one member of each class is from a State
7    other than Texas (the state of the Defendant), and the amounts in controversy are
8    over $5,000,000. Further, none of the exceptions to CAFA jurisdiction apply.
9          12.    This Court has personal jurisdiction over Defendant because it conducts
10   substantial business in this District and the unlawful conduct alleged in the
11   Complaint emanated from this District.
12         13.    Venue is proper in this District under 28 U.S.C. § 1391 because a
13   substantial part of the events and omissions giving rise to the claims occurred in the
14   District. Plaintiff was hired at a 7-Eleven location in Los Angeles, California and
15   worked there for a month prior to being terminated based on information contained
16   in a background check obtained about him in relation to his employment.
17               FACTS COMMON TO PLAINTIFF AND ALL COUNTS
18         14.    7-Eleven is a corporation based in Irving, Texas.
19         15.    In or around January 2018, Plaintiff applied for a job with 7-Eleven at a
20   store in Los Angeles, California.
21         16.    In or around January 2018, Plaintiff was required to complete various
22   acknowledgments of company disclosures including a disclosure regarding
23   Plaintiff’s background and criminal history.
24         17.    Rather than provide a standalone disclosure—as the FCRA requires—
25   Plaintiff was presented with a document entitled “Disclosure Regarding Background
26   Investigation,” which included the disclosures for both a consumer report and an
27   investigative consumer report, including details regarding the nature and scope of
28   any investigation, together with other extraneous information, including details about
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1    Sterling Talent Solutions and its privacy policy, acknowledgements that documents
2    have been received and reviewed and that the signer understands that by signing they
3    may have an offer revoked, and an authorization purporting to grant “any party or
4    agency contacted by 7-Eleven, Inc.” to furnish whatever information 7-Eleven
5    requests. (See Ex. A.)
6          18.    The unnecessary inclusion of such extraneous information rendered the
7    document confusing to Plaintiff and the average consumer. That is, because 7-Eleven
8    fails to provide a clear and conspicuous disclosure in a document consisting solely of
9    the disclosure as required by the FCRA, Plaintiff was unable to meaningfully
10   authorize the report, or reports, that 7-Eleven intended to procure about him. Plaintiff
11   would not have authorized the background check had a lawful disclosure been
12   provided.
13         19.    Plaintiff was employed by 7-Eleven for approximately one month,
14   starting January 26, 2018.
15         20.    On or around February 21, 2018, 7-Eleven terminated Plaintiff, an
16   adverse employment action, based on information contained in the background
17   check it had procured regarding Plaintiff.
18         21.    Plaintiff did not receive a pre-adverse action notice, a copy of the
19   consumer report, or a summary of his rights under the FCRA at that time.
20         22.    Simply put, 7-Eleven fails to give applicants any opportunity to review
21   and discuss the report and any inaccuracies within it prior to taking adverse action.
22         23.    As the FTC has made clear, applicants and employees are supposed to
23   be afforded the opportunity to review the background check/consumer report and
24   discuss it with their prospective employer before losing out on a job (or having other
25   adverse action taken against them) because of information contained in the report.
26   The FTC has ruled that in general, an employer should wait at least five (5) business
27   days following the notice to the applicant or employee of the anticipated adverse
28   action—together with a copy of the report and a summary of the applicant’s/
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1    employee’s FCRA rights—before actually taking the adverse action. This notice
2    advises the applicant or employee of their ability to discuss the report with their
3    employer. (See, e.g., FTC Advisory Opinion to Weisberg, available at
4    http://www.ftc.gov/policy/advisory-opinions/advisory-opinion-weisberg-06-27-97.)
5          24.     Because of the unlawful disclosures provided to applicants and
6    employees, including Plaintiff, as well as Defendant’s failure to give applicants an
7    opportunity to remedy any issues with the consumer reports prior to termination,
8    Defendant has willfully denied Plaintiff the rights guaranteed to him by the FCRA.
9    Such violations entitle him, and other similarly situated, to statutory damages of not
10   less than $100 and not more than $1,000 per violation.
11                            CLASS ACTION ALLEGATIONS
12         25.     Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
13   23(b)(2) and Rule 23(b)(3) on behalf of himself and two nationwide Classes defined
14   as follows:
15         Disclosure Class: All persons in the United States who (1) from a
           date two years prior to the filing of the initial complaint in this action
16
           to the date notice is sent to the Disclosure Class; (2) applied for
17         employment with Defendant; (3) about whom Defendant procured a
18         consumer report; and (4) who were provided the same form FCRA
           disclosure and authorization as the disclosure and authorization form
19         Defendant provided to Plaintiff.
20         Adverse Action Class: All persons in the United States who (1) from
           a date two years prior to the filing of the initial complaint in this
21
           action to the date notice is sent to the Adverse Action Class; (2) were
22         subject to an adverse employment action; (3) based in whole or in part
           upon any consumer report procured by Defendant; and (4) who, like
23
           Plaintiff, had an adverse action taken against them before they were
24         provided any notice of a contemplated action together with a copy of
25         the report and a summary of rights under the FCRA.
           California Subclass: All members of either of the Disclosure Class or
26
           the Adverse Action Class who reside in California.
27
28
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1          26.    Excluded from the Classes and Subclass are (1) Defendant, Defendant’s
2    agents, subsidiaries, parents, successors, predecessors, and any entity in which
3    Defendant or its parents have a controlling interest, and those entities’ officers and
4    directors, (2) the Judge or Magistrate Judge to whom this case is assigned and the
5    Judge’s or Magistrate Judge’s immediate family, (3) persons who execute and file a
6    timely request for exclusion, (4) persons who have had their claims in this matter
7    finally adjudicated and/or otherwise released, and (5) the legal representatives,
8    successors, and assigns of any such excluded person. Plaintiff anticipates the need to
9    amend the Complaint following a reasonable period for class discovery.
10         27.    Numerosity: The exact numbers of the members of the Classes and
11   Subclass are unknown to Plaintiff at this time, but it is clear that individual joinder is
12   impracticable. Defendant has thousands of employees and potentially an even greater
13   number of job applicants. Further, the Class and Subclass members can readily be
14   ascertained through Defendant’s records and the records of Sterling Talent Solutions.
15         28.    Commonality: Common questions of law and fact exist as to all
16   members of the Classes and Subclass for which this proceeding will provide
17   common answers in a single stroke based upon common evidence, including:
18         (a)    Whether Defendant’s conduct described herein violated the FCRA;
19         (b)    Whether Defendant has procured or caused to be procured consumer
20                reports about job applicants and employees;
21         (c)    Whether Defendant’s disclosure violates the FCRA’s requirement that
22                the pre-report disclosure be clear and conspicuous in a document
23                consisting solely of the disclosure;
24         (d)    Whether Defendant has provided a pre-adverse action notice and, if not,
25                the extent of its failure to provide such notices;
26         (e)    Whether Defendant has acted willfully;
27         (f)    And for the Subclass the proper measure of statutory damages and the
28                availability and appropriateness of declaratory and injunctive relief.
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1          29.    Typicality: As a result of Defendant’s uniform disclosures and conduct,
2    Plaintiff and the Class and Subclass members suffered the same injury and similar
3    damages. If the disclosure violated the FCRA as to Plaintiff, then it violated the
4    FCRA as to all job applicants and employees. Thus, Plaintiff’s claims are typical of
5    the claims of the other Class and Subclass members.
6          30.    Adequate Representation: Plaintiff is a member of the Classes and
7    Subclass and both he and his counsel will fairly and adequately represent and protect
8    the interests of the Classes and Subclass, as neither has interests adverse to those of
9    the Class and Subclass members and Defendant has no defenses unique to Plaintiff.
10   In addition, Plaintiff has retained counsel competent and experienced in complex
11   litigation and class actions. Further, Plaintiff and his counsel are committed to
12   vigorously prosecuting this action on behalf of the members of the Classes and
13   Subclass, and they have the financial resources to do so.
14         31.    Injunctive and Declaratory Relief: In using uniform disclosures that
15   violate the FCRA and by uniformly failing to provide pre-adverse action notices as
16   required, Defendant has acted or refused to act on grounds generally applicable to
17   Subclass so as to render injunctive and declaratory relief appropriate under the
18   California Unfair Competition Law ("UCL") Cal. Bus. & Prof. Code § 17200 et seq.
19   For the Subclass members, Defendant’s uniform conduct requires the Court’s
20   imposition of uniform relief to ensure compatible standards of conduct toward the
21   Subclass members, thus, making final injunctive and/or declaratory relief appropriate
22   with respect to the Subclass as a whole. Further, because Defendant’s uniform
23   practices result in similar, if not identical, injuries for all Subclass members,
24   Plaintiff’s challenge of those practices hinges on Defendant’s conduct with respect to
25   the Subclass, not on facts or law applicable only to Plaintiff.
26         32.    Predominance: The common questions of law and fact set forth above
27   go to the very heart of the controversy and predominate over any supposed
28   individualized questions. Irrespective of any given Class or Subclass member’s
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  1   situation, the answers to whether Defendant’s pre-report disclosure and failure to
  2   provide pre-adverse action notices are unlawful is the same for everyone—
  3   resounding “yesses” on both questions—and they will be proven using common
  4   evidence.
  5         33.    Superiority and Manageability: A class action is superior to all other
  6   methods of adjudicating the controversy. Joinder of all class members is impractical,
  7   and the damages suffered by/available to the individual Class and Subclass members
  8   will likely be small relative to the cost associated with prosecuting an action. Thus,
  9   the expense of litigating an individual action will likely prohibit the Class and
10    Subclass members from obtaining effective relief for Defendant’s misconduct. In
11    addition, there are numerous common factual and legal questions that could result in
12    inconsistent verdicts should there be several successive trials. In contrast, a class
13    action will present far fewer management difficulties, as it will increase efficiency
14    and decrease expense. Further, class-wide adjudication will also ensure a uniform
15    decision for the Class and Subclass members.
16          34.    Plaintiff reserves the right to revise the definition of the Classes and
17    Subclass as necessary based upon information obtained in discovery.
18                                           COUNT I
                             Violation of 15 U.S.C. § 1681b(b)(2)(A)(i)
19
                          (On Behalf of Plaintiff and the Disclosure Class)
20
            35.    Plaintiff incorporates by reference the foregoing allegations as if fully
21
      set forth herein.
22
            36.    The FCRA declares that:
23
            Except as provided in subparagraph (B), a person may not procure a
24          consumer report, or cause a consumer report to be procured, for
            employment purposes with respect to any consumer, unless—
25
            (i) a clear and conspicuous disclosure has been made in writing to the
26
            consumer at any time before the report is procured or caused to be
27          procured, in a document that consists solely of the disclosure, that a
            consumer report may be obtained for employment purposes . . . .
28
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  1   15 U.S.C. § 1681b(b)(2)(A) (emphasis added).
  2         37.    The FCRA defines a consumer report as:
  3         . . . any written, oral, or other communication of any information by a
  4         consumer reporting agency bearing on a consumers’ credit
            worthiness, credit standing, cred-it capacity, character, general
  5         reputation, personal characteristics, or mode of living which is used or
  6         excepted to be used or collected in whole or in part for the purpose of
            serving as a factor establishing the consumer’s eligibility for . . .
  7
            (B) employment purposes . . .
  8
  9   15 U.S.C. § 1681a(d)(1).
10          38.    Defendant’s background checks are consumer reports.
11          39.    The pre-report disclosure that 7-Eleven provided to applicants and
12    employees combines disclosures required for consumer reports with disclosures
13    required for investigative consumer reports. That is, Defendant provides a single
14    disclosure combining both the disclosure required for a standard consumer report as
15    well as disclosures required for an investigative consumer report, including details
16    regarding the nature and scope of any investigation such that the disclosure
17    overwhelms the consumer report disclosure.
18          40.    The disclosure and authorization also contain additional extraneous
19    information about Sterling Talent Solutions and summaries of FCRA rights, as well
20    as additional language purporting to authorize the preparation of reports by Sterling
21    Talent Solutions. The authorization also purports to give consent to any party or
22    agency contacted by 7-Eleven, Inc. to furnish information to it, and contains
23    acknowledgements that the consumer has read and understood the disclosure and
24    that they may have any employment offer revoked if unacceptable information is
25    found in an investigative background inquiry or consumer report.
26          41.    The disclosure and authorization that Defendant provided to Plaintiff
27    and the Disclosure Class members willfully violated the FCRA by not being clear
28    and conspicuous, by being unnecessarily duplicative, and by including extraneous
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  1   information such that the disclosure cannot be said to “stand alone” in a document
  2   that consists solely of the disclosure. Plaintiff and the other class members wouldn't
  3   have authorized the reports had appropriate disclosures been provided.
  4         42.    Defendant procured consumer reports with respect to Plaintiff and the
  5   Disclosure Class members. The disclosures provided to Plaintiff were the same or
  6   substantially the same as the one provided to all Disclosure Class members. Thus,
  7   Defendant uniformly violated the FCRA rights of all Class members in the same way
  8   and, in the process, violated their right to information and their privacy rights as
  9   delineated by Congress.
10          43.    Defendant’s violation of 15 U.S.C. § 1681b(b)(2)(A)(i) was willful for
11    at least the following reasons:
12                 (i)     The rule that FRCA disclosures be “clear and conspicuous” and
13          part of a document consisting “solely” of that disclosure has been the law
14          established for well over a decade.
15                 (ii)    Defendant is a large corporation who regularly engages outside
16          counsel—it had ample means and opportunity to seek legal advice regarding
17          its FCRA responsibilities. As such, any violations were made in conscious
18          disregard of the rights of others.
19                 (iii)   Clear judicial and administrative guidance—dating back to at
20          least the 1990s—regarding a corporation’s FCRA responsibilities exists and is
21          readily available explaining that such disclosures must stand-alone. This
22          readily-available guidance means Defendant either was aware of its
23          responsibilities or plainly should have been aware of its responsibilities but
24          ignored them and violated the FCRA anyway.
25          44.    Plaintiff and the Disclosure Class are entitled to statutory damages of
26    not less than $100 and not more than $1,000 for each of Defendant’s willful
27    violations pursuant to 15 U.S.C. § 1681n(a)(1)(A).
28
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  1         45.    Accordingly, under the FCRA, Plaintiff and the Disclosure Class seek
  2   statutory damages, reasonable cost and attorneys’ fees, and such other relief as the
  3   Court deems necessary, reasonable, and just.
  4                                       COUNT II
                            Violation of 15 U.S.C. § 1681b(b)(3)
  5
                     (On Behalf of Plaintiff and the Adverse Action Class)
  6
            46.    Plaintiff incorporates by reference the foregoing allegations as if fully
  7
      set forth herein.
  8
            47.    The FCRA provides that:
  9
            (3) Conditions on use for adverse actions.
10
            (A) In General. Except as provided in subparagraph (b), in using a
11          consumer report for employment purposes, before taking any adverse
            action based in whole or in part on the report, the person intending to
12
            take such adverse action shall provide to the consumer to whom the
13          report relates—
14          (i)     a copy of the report; and
            (ii) a description in writing of the rights of the consumer under this
15
            subchapter, as prescribed by the Bureau under section 1681g(c)(3) of
16          this title.
17    See 15 U.S.C. 1681b(b)(3) (Emphasis added).
18          48.    The FCRA defines adverse action as “a denial of employment or any
19    other decision for employment purposes that adversely affects any current or
20    prospective employee.” 15 U.S.C. § 1681a(k)(1)(B)(ii).
21          49.    In construing the FCRA, the FTC made clear, applicants and employees
22    are supposed to be provided the opportunity to review any background check/
23    consumer reports obtained in regards to them and to discuss it with the employer
24    before losing out on a job (or having other adverse action taken) because of
25    information contained in the report. The FTC has stated repeatedly that in general an
26    employer should wait at least five (5) business days following the notice to the
27    applicant or employee of the anticipated adverse action—together with a copy of the
28    report and a summary of the applicant/employees’ FCRA rights—before actually
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  1   taking the adverse action. This notice advises the applicant or employee of their
  2   ability to discuss the report with their employer. (See, e.g., FTC Advisory Opinion to
  3   Weisberg, available at http://www.ftc.gov/policy/advisory-opinions/advisory-
  4   opinion-weisberg-06-27-97.)
  5         50.    After obtaining a consumer report about Plaintiff for employment
  6   purposes, Defendant—based in whole or in part on information contained in
  7   Plaintiff’s consumer report—revoked Plaintiff’s employment offer, an adverse
  8   employment action. Plaintiff had been working for a month at that point.
  9         51.    Defendant violated Section 1681b(b)(3)(A) of the FCRA by failing to
10    provide Plaintiff and members of the Adverse Action Class with pre-adverse action
11    notice together with a copy of the report and summary of rights under the FCRA.
12    Instead, Defendant evaluates each applicant’s and employee’s consumer report and
13    takes adverse action against them without sending any pre-adverse action notice.
14    Defendant’s failure to provide the required notice frustrates the purpose of the FCRA
15    and robs applicants and employees of a meaningful opportunity to discuss any
16    negative information in their consumer reports with Defendant prior to the decision
17    to take adverse action, as intended by the FCRA.
18          52.    Defendant’s violations of 15 U.S.C. § 1681b(b)(3)(A) were willful. The
19    rule that employers must give applicants and employees an opportunity to remedy
20    any discrepancies with their consumer reports directly with the employer prior to any
21    adverse action being taken is well established. Defendant is a large corporation that
22    has retained lawyers on staff and regularly engages counsel—it has ample means and
23    opportunity to seek legal advice regarding their FCRA responsibilities. Further, there
24    is a glut of judicial and administrative guidance—dating back to the 1990’s—
25    regarding a corporation’s FCRA responsibilities. As a consequence of such readily
26    available guidance, Defendant was either aware of its responsibilities or should have
27    been aware of its responsibilities but violated the FCRA anyway.
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  1          53.   Plaintiff and the Adverse Action Class are entitled to statutory damages
  2   of not less than $100 and not more than $1,000 for each of Defendant’s willful
  3   violations pursuant to 15 U.S.C. § 1681n(a)(1)(A).
  4          54.   Accordingly, under the FCRA, Plaintiff and the Adverse Action Class
  5   seek statutory damages, reasonable cost and attorneys’ fees, and such other relief as
  6   the Court deems necessary, reasonable, and just.
  7                                        COUNT III
  8                   Violation of the California Unfair Competition Law
                             Cal. Bus. & Prof. Code § 17200 et seq.
  9                   (On Behalf of Plaintiff and the California Subclass)
10           55.   Plaintiff incorporates by reference the foregoing allegations as if fully
11    set forth herein.
12           56.   Defendant's failure to provide a clear and conspicuous disclosure and
13    authorization under the FCRA that "stands alone" violated the unlawful prong of the
14    UCL.
15           57.   Defendant's failure to provide a pre-adverse action notice in accordance
16    with the FCRA violated the unlawful prong of the UCL.
17           58.   Defendant's violations are ongoing and continuing and will likely occur
18    in the future absent an order from this Court enjoining 7-Eleven from continuing to
19    violate the FCRA with respect to California residents.
20           59.   As such, Plaintiff and the California Subclass members are entitled to
21    injunctive relief and corresponding declaratory relief, attorneys fees, and such
22    additional relief as the Court deems necessary, reasonable, and just.
23                                  PRAYER FOR RELIEF
24           WHEREFORE, Plaintiff Edwardo Munoz, individually and on behalf of the
25    Classes and Subclass, respectfully requests that this Court issue an order:
26           A.    Certifying this case as a class action on behalf of the Classes and
27                 Subclass defined above, appointing Edwardo Munoz as class
28                 representative and appointing his counsel as class counsel;
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  1         B.   Declaring that Defendant’s actions, as set out above, constitute
  2              violations of the Fair Credit Reporting Act, 15 U.S.C. § 1681b;
  3         C.   Declaring that Defendant’s practice of not providing a copy of the
  4              consumer report relied upon and a summary of FCRA rights constitutes
  5              a violation of the FCRA;
  6         D.   Awarding damages, including statutory and treble damages where
  7              applicable, to Plaintiff and the Classes in amounts to be determined at
  8              trial;
  9         E.   Awarding injunctive and other equitable relief as is necessary to protect
10               the interests of the Subclass, inter alia: (i) an order prohibiting
11               Defendant from engaging in the wrongful and unlawful actions
12               described herein; and (ii) requiring Defendant to provide proper
13               disclosures, notices, and summaries under federal law;
14          F.   Awarding Plaintiff and the Classes and Subclass their reasonable
15               litigation expenses and attorneys’ fees;
16          G.   Awarding Plaintiff and the Classes and Subclass pre- and post-
17               judgment interest, to the extent allowable;
18          H.   Providing such other injunctive and/or declaratory relief as necessary to
19               protect the interests of Plaintiff and the Classes and Subclass; and
20          I.   Such further and other relief as the Court deems reasonable and just.
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  2                                     JURY DEMAND
  3        Plaintiff requests a trial by jury of all claims that can be so tried.
  4
  5                                           Respectfully submitted,
  6
  7   Dated: May 8, 2018                      Edwardo Munoz, individually and on behalf
                                              of all others similarly situated,
  8
  9                                   By:      /s/ Mike Arias
                                              Mike Arias (CSB #115385)
10                                             mike@asstlawyers.com
                                              Alfredo Torrijos (CSB #222458)
11                                             alfredo@asstlawyers.com
                                              ARIAS SANGUINETTI WANG &
12                                                  TORRIJOS, LLP
                                              6701 Center Drive West, 14th Floor
13                                            Los Angeles, California 90045
                                              Telephone: (310) 844-9696
14                                            Facsimile: (310) 861-0168
15                                            Steven L. Woodrow*
                                                swoodrow@woodrowpeluso.com
16                                            Patrick H. Peluso*
                                                ppeluso@woodrowpeluso.com
17                                            Taylor T. Smith*
                                                tsmith@woodrowpeluso.com
18                                            WOODROW & PELUSO, LLC
                                              3900 East Mexico Avenue, Suite 300
19                                            Denver, Colorado 80210
                                              Telephone: (720) 213-0675
20                                            Facsimile: (303) 927-0809
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